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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    MSR MEDIA SKN LTD., et al.,

          Plaintiffs,

    v.                                                  Case No. 8:24-cv-01248-KKM-AAS

    LESLIE KHAN, et al.,

          Defendants.


                   NOTICE OF FILING DECLARATIONS
         IN SUPPORT OF DEFENDANTS’ JOINT MOTIONS TO DISMISS

         Defendants Caribbean Galaxy Real Estate Corp., Caribbean Galaxy Real

Estate Ltd., Ying Jin, Dr. Timothy Harris, the Rt. Hon. Dr. Denzil Douglas,

CaribTrust Ltd., Faron Lawrence, and MC Claude Emmanuel file the following

materials in support of their Joint Motions to Dismiss Plaintiffs’ Complaint based on

Jurisdictional and Forum Issues: 1

         1.      Declaration of Midge Morton

         2.      Declaration of Dr. Timothy Harris

         3.      Declaration of Dr. Denzil Douglas



1
 The parties to the joint motions to dismiss Plaintiffs’ Complaint, each represented by independent counsel
on behalf of only their respective clients, file these motions jointly pursuant to the Court’s Order (Doc. 105)
directing such “joint” filings. No inference should be drawn from these joint motions concerning the
Defendants’ positional alignment, cooperation, or agreement for any purpose other than to comply with the
Court’s Order. Each moving party remains independent and, but for the Court’s Order, would have
separately moved for the requested relief. Defendants Leslie Khan and St. Kitts-Nevis-Anguilla National
Bank Ltd. do not join these motions because Plaintiffs have not yet served Khan and because the National
Bank filed a separate motion to dismiss (Doc. 106).
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      4.    Declaration of Jacqueline Lawrence

      5.    Declaration of Faron Lawrence

      6.    Declaration of MC Claude Emmanuel




             (Signatures of Counsel Appear on the Following Pages)




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 Dated: November 1, 2024                        Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I certify that on November 1, 2024, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

filing to counsel of record.

                                                /s/ Christopher Joyce
                                                Attorney




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